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                                                                                            FILED
                                                                                           U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT ARKANSAS


                        IN THE UNITED STATES DISTRICT COURT                                APR 09 2018
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION


 AUSTIN J. BURNS, ADC # 551922                                                       PLAINTIFF

 v.                             CASE NO. 5:17CV223 JLH/JTR

 KENDRICK R. AVERY, CHRIS BUDNIK,
 AND KENNETH STARKS                                                                DEFENDANTS

              DEFENDANT AVERY'S MOTION TO FILE PHOTOGRAPHS
                     AND VIDEO EVIDENCE UNDER SEAL

        Pursuant to Rule 5.2 of the Federal Rules of Civil Procedure and Scheduling Order (Doc .

. No. 24) Defendant Kedrick Avery, by and through his attorneys, Attorney General Leslie

Rutledge and Assistant Attorney General Vincent P. France, and for his Motion to File

Photographs and Video Evidence under Seal, states:

        I.     On August 24, 2017, Plaintiff filed a Complaint against ADC Defendants,

Kedrick Avery, Christopher Budnik, and Kenneth Starks, in which he claimed that the ADC

Defendants on April 11, 2017 used excessive force against him by using chemical spray. Doc.

No. 2. Plaintiff also alleged that he was not provided with adequate nutrition. Doc. No. 2, p. 6.

       2.      On April 27, 2018, Honorable Magistrate Ray issued his "Recommended Partial

Disposition" (Doc. No. 20) in which he recommended that Plaintiffs claim of inadequate

nutrition against the ADC Defendants be dismissed without prejudice. Magistrate Ray also

recommended that the excessive force claims against Defendant Budnik and Starks be dismissed,

but that Plaintiff be allowed to continue his excessive force claim against Defendant Avery in his

individual capacity. Doc. No. 20, p. 9. This Court adopted these recommendations in an Order

issued on April 3, 2018. Doc. No. 28.




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         3.    On March 12, 2018, this Court entered a Scheduling Order (Doc. No. 24), which

requires that the ADC Defendants to file under seal any video recordings and photographs of the

incident in question that may have been taken within thirty days of the Scheduling Order.

         4.    Defendants have photographs taken on April 11, 2017 that show the officers that

had bodily fluids thrown onto them (which is termed as being "dashed") by an inmate in

Plaintiff's cell that necessitated the need to extract the inmates, including Plaintiff, from his cell.

Exhibit A, Photographs of Officers who were Dashed.

         5.    In addition, Defendants have video recording from the April 11, 2017 incident

that shows the cell extraction, which is important for the disposition of this case. Exhibit B, CD

containing video recording incident.

         6.    The photographs and video, if disseminated, would pose a significant security risk

to the security of the prison because inmates would learn the nature, location, the view captured,

and the quality of the video, especially given the area of the prison in which this video footage is

taken.

         7.    Accordingly, Defendant Avery asks that they be allowed to file the photographs

and video under seal and be able to make general references to them in their future motion for

summary judgment, the brief in support, and the statement of undisputed material facts.

         8.    Attached to this motion are the following exhibits:

                   •   Exhibit A:      Photographs of Officers Photographs of Officers who were
                       Dashed; and

                   •   Exhibit B:      Exhibit B, CD containing video recording incident.

         9.    Pursuant to Rule 7.2 of the Local Rules, a supporting brief is being filed

contemporaneously with this motion.




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       WHEREFORE, pursuant to Federal Rule of Civil Procedure 5.2, Defendant Avery

respectfully requests that the attached photographs and video be filed under seal because if

disseminated to inmates would cause pose a threat to prison security.

                                             Respectfully submitted,

                                             Atto?'1eral
                                            By:  ':JdI_    p d---~
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                                            Assistant Attorney General
                                            Arkansas Attorney General's Office
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                                            Little Rock, AR 72201
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                                            Fax:     (501) 682-2591
                                            Attorneys for Defendant Avery



                                     Certificate of Service


       I, Vincent P. France, hereby certify that on April 9, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system.

      I, Vincent P. France, hereby certify that on April 9, 2018, I mailed the foregoing
document by U.S. Postal Service to the following non-CM/ECF participant:

       Austin Jay Bums, ADC #551922
       Pine Bluff Unit
       890 Free Line Dr.
       Pine Bluff, AR 71603-1498

                                                   {/Aer~
                                                    Vincent P. France




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